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                     EXHIBIT 4
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                                    Labeler Market Share of 14 Opioid Drugs in Ogemaw County, MI
                                                       Total MME (2006 - 2014)

                    SpecGx LLC                                                24.7%


     Mylan Pharmaceuticals, Inc.                                          21.9%


                     Sandoz Inc                                  16.9%


            Actavis Pharma, Inc.                         10.1%


              Par Pharmaceutical                5.7%


              Purdue Pharma LP                 4.8%


West-Ward Pharmaceuticals Corp.          2.6%


                    Indivior Inc.       2.1%


  Teva Pharmaceuticals USA, Inc.        1.8%


              Ethex Corporation        1.6%


    Janssen Pharmaceuticals, Inc.      1.4%


         Rhodes Pharmaceuticals        1.0%


                           Other                5.5%

                                0.0%                  10.0%       20.0%           30.0%   40.0%   50.0%   60.0%   70.0%


                                                                          www.SLCG.com                               1 of 20
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                                    Labeler Market Share of 14 Opioid Drugs in Ogemaw County, MI
                                                    Total Dosage Units (2006 - 2014)

                    SpecGx LLC                                                                           52.5%


     Mylan Pharmaceuticals, Inc.       1.1%


                     Sandoz Inc        0.6%


            Actavis Pharma, Inc.                                      20.8%


              Par Pharmaceutical                          10.3%


              Purdue Pharma LP          1.6%


West-Ward Pharmaceuticals Corp.         1.8%


                    Indivior Inc.    0.2%


  Teva Pharmaceuticals USA, Inc.            3.2%


              Ethex Corporation        0.9%


    Janssen Pharmaceuticals, Inc.    0.2%


         Rhodes Pharmaceuticals      0.4%


                           Other                   6.5%

                                0.0%                10.0%         20.0%          30.0%   40.0%   50.0%           60.0%   70.0%


                                                                          www.SLCG.com                                      2 of 20
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                                    Labeler Market Share of 14 Opioid Drugs in Ogemaw County, MI
                                                           Total MME (2006)

                    SpecGx LLC                               15.3%


     Mylan Pharmaceuticals, Inc.               4.8%


                     Sandoz Inc                                                                   49.9%


            Actavis Pharma, Inc.                   6.3%


              Par Pharmaceutical                5.3%


              Purdue Pharma LP         0.7%


West-Ward Pharmaceuticals Corp.          2.1%


                    Indivior Inc.      0.9%


  Teva Pharmaceuticals USA, Inc.            3.2%


              Ethex Corporation               4.0%


    Janssen Pharmaceuticals, Inc.        2.2%


         Rhodes Pharmaceuticals      0.0%


                           Other                5.4%

                                0.0%                 10.0%      20.0%          30.0%   40.0%   50.0%      60.0%   70.0%


                                                                        www.SLCG.com                                 3 of 20
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                                    Labeler Market Share of 14 Opioid Drugs in Ogemaw County, MI
                                                      Total Dosage Units (2006)

                    SpecGx LLC                                                               46.8%


     Mylan Pharmaceuticals, Inc.     0.2%


                     Sandoz Inc         2.3%


            Actavis Pharma, Inc.                              18.5%


              Par Pharmaceutical              4.5%


              Purdue Pharma LP       0.3%


West-Ward Pharmaceuticals Corp.        1.4%


                    Indivior Inc.    0.1%


  Teva Pharmaceuticals USA, Inc.              4.9%


              Ethex Corporation         2.5%


    Janssen Pharmaceuticals, Inc.    0.3%


         Rhodes Pharmaceuticals      0.0%


                           Other                              18.3%

                                0.0%                 10.0%   20.0%           30.0%   40.0%    50.0%     60.0%   70.0%


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                                    Labeler Market Share of 14 Opioid Drugs in Ogemaw County, MI
                                                           Total MME (2007)

                    SpecGx LLC                                       21.2%


     Mylan Pharmaceuticals, Inc.              4.7%


                     Sandoz Inc                                                              45.3%


            Actavis Pharma, Inc.                      8.0%


              Par Pharmaceutical            3.0%


              Purdue Pharma LP         1.2%


West-Ward Pharmaceuticals Corp.        1.0%


                    Indivior Inc.    0.6%


  Teva Pharmaceuticals USA, Inc.                   5.8%


              Ethex Corporation               4.7%


    Janssen Pharmaceuticals, Inc.      1.7%


         Rhodes Pharmaceuticals      0.0%


                           Other            2.9%

                                0.0%                 10.0%   20.0%           30.0%   40.0%      50.0%   60.0%   70.0%


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                                    Labeler Market Share of 14 Opioid Drugs in Ogemaw County, MI
                                                      Total Dosage Units (2007)

                    SpecGx LLC                                                                          58.2%


     Mylan Pharmaceuticals, Inc.     0.3%


                     Sandoz Inc         2.0%


            Actavis Pharma, Inc.                                   22.4%


              Par Pharmaceutical         2.2%


              Purdue Pharma LP       0.5%


West-Ward Pharmaceuticals Corp.        0.8%


                    Indivior Inc.    0.1%


  Teva Pharmaceuticals USA, Inc.                   7.5%


              Ethex Corporation             3.1%


    Janssen Pharmaceuticals, Inc.    0.1%


         Rhodes Pharmaceuticals      0.0%


                           Other            3.0%

                                0.0%               10.0%   20.0%           30.0%   40.0%   50.0%        60.0%   70.0%


                                                                   www.SLCG.com                                    6 of 20
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                                    Labeler Market Share of 14 Opioid Drugs in Ogemaw County, MI
                                                           Total MME (2008)

                    SpecGx LLC                                           22.4%


     Mylan Pharmaceuticals, Inc.                             14.3%


                     Sandoz Inc                                                          32.0%


            Actavis Pharma, Inc.                      8.8%


              Par Pharmaceutical        2.5%


              Purdue Pharma LP                5.0%


West-Ward Pharmaceuticals Corp.      0.4%


                    Indivior Inc.    0.4%


  Teva Pharmaceuticals USA, Inc.        2.7%


              Ethex Corporation               4.7%


    Janssen Pharmaceuticals, Inc.      1.7%


         Rhodes Pharmaceuticals      0.0%


                           Other              5.0%

                                0.0%                 10.0%       20.0%           30.0%           40.0%   50.0%   60.0%   70.0%


                                                                         www.SLCG.com                                       7 of 20
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                                    Labeler Market Share of 14 Opioid Drugs in Ogemaw County, MI
                                                      Total Dosage Units (2008)

                    SpecGx LLC                                                                              58.9%


     Mylan Pharmaceuticals, Inc.       0.9%


                     Sandoz Inc        1.2%


            Actavis Pharma, Inc.                                   22.8%


              Par Pharmaceutical        1.9%


              Purdue Pharma LP           2.3%


West-Ward Pharmaceuticals Corp.      0.4%


                    Indivior Inc.    0.0%


  Teva Pharmaceuticals USA, Inc.                5.2%


              Ethex Corporation             3.5%


    Janssen Pharmaceuticals, Inc.    0.1%


         Rhodes Pharmaceuticals      0.0%


                           Other            3.0%

                                0.0%               10.0%   20.0%           30.0%   40.0%   50.0%        60.0%       70.0%


                                                                   www.SLCG.com                                        8 of 20
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                                    Labeler Market Share of 14 Opioid Drugs in Ogemaw County, MI
                                                           Total MME (2009)

                    SpecGx LLC                                                       27.7%


     Mylan Pharmaceuticals, Inc.                                     17.2%


                     Sandoz Inc                                              22.3%


            Actavis Pharma, Inc.                             12.4%


              Par Pharmaceutical            3.2%


              Purdue Pharma LP                  5.2%


West-Ward Pharmaceuticals Corp.          2.2%


                    Indivior Inc.      1.2%


  Teva Pharmaceuticals USA, Inc.        1.8%


              Ethex Corporation        0.7%


    Janssen Pharmaceuticals, Inc.       1.7%


         Rhodes Pharmaceuticals      0.0%


                           Other              4.4%

                                0.0%                 10.0%           20.0%           30.0%   40.0%   50.0%   60.0%   70.0%


                                                                             www.SLCG.com                               9 of 20
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                                    Labeler Market Share of 14 Opioid Drugs in Ogemaw County, MI
                                                      Total Dosage Units (2009)

                    SpecGx LLC                                                                          58.0%


     Mylan Pharmaceuticals, Inc.       0.8%


                     Sandoz Inc        0.8%


            Actavis Pharma, Inc.                                             27.0%


              Par Pharmaceutical         2.4%


              Purdue Pharma LP          2.0%


West-Ward Pharmaceuticals Corp.         1.5%


                    Indivior Inc.    0.1%


  Teva Pharmaceuticals USA, Inc.               4.3%


              Ethex Corporation      0.4%


    Janssen Pharmaceuticals, Inc.    0.1%


         Rhodes Pharmaceuticals      0.0%


                           Other         2.7%

                                0.0%                  10.0%   20.0%          30.0%   40.0%   50.0%     60.0%    70.0%


                                                                      www.SLCG.com                                 10 of 20
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                                    Labeler Market Share of 14 Opioid Drugs in Ogemaw County, MI
                                                           Total MME (2010)

                    SpecGx LLC                                       22.5%


     Mylan Pharmaceuticals, Inc.                                               29.4%


                     Sandoz Inc             3.1%


            Actavis Pharma, Inc.                             18.0%


              Par Pharmaceutical              4.7%


              Purdue Pharma LP                  5.4%


West-Ward Pharmaceuticals Corp.             2.9%


                    Indivior Inc.        2.6%


  Teva Pharmaceuticals USA, Inc.       1.1%


              Ethex Corporation        1.1%


    Janssen Pharmaceuticals, Inc.       2.2%


         Rhodes Pharmaceuticals      0.1%


                           Other                   7.1%

                                0.0%                 10.0%   20.0%           30.0%     40.0%   50.0%   60.0%   70.0%


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                                    Labeler Market Share of 14 Opioid Drugs in Ogemaw County, MI
                                                      Total Dosage Units (2010)

                    SpecGx LLC                                                                 50.3%


     Mylan Pharmaceuticals, Inc.       1.2%


                     Sandoz Inc      0.1%


            Actavis Pharma, Inc.                                      26.8%


              Par Pharmaceutical               7.8%


              Purdue Pharma LP         1.7%


West-Ward Pharmaceuticals Corp.         2.0%


                    Indivior Inc.    0.2%


  Teva Pharmaceuticals USA, Inc.        2.0%


              Ethex Corporation      0.3%


    Janssen Pharmaceuticals, Inc.    0.1%


         Rhodes Pharmaceuticals      0.0%


                           Other               7.3%

                                0.0%           10.0%    20.0%          30.0%   40.0%       50.0%       60.0%   70.0%


                                                                www.SLCG.com                                      12 of 20
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                                    Labeler Market Share of 14 Opioid Drugs in Ogemaw County, MI
                                                           Total MME (2011)

                    SpecGx LLC                                              23.4%


     Mylan Pharmaceuticals, Inc.                                                            34.5%


                     Sandoz Inc      0.6%


            Actavis Pharma, Inc.                           12.4%


              Par Pharmaceutical               5.6%


              Purdue Pharma LP                  6.6%


West-Ward Pharmaceuticals Corp.             3.8%


                    Indivior Inc.       2.3%


  Teva Pharmaceuticals USA, Inc.     0.6%


              Ethex Corporation      0.0%


    Janssen Pharmaceuticals, Inc.      1.2%


         Rhodes Pharmaceuticals         2.5%


                           Other                6.4%

                                0.0%               10.0%           20.0%            30.0%       40.0%   50.0%   60.0%   70.0%


                                                                           www.SLCG.com                                    13 of 20
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                                    Labeler Market Share of 14 Opioid Drugs in Ogemaw County, MI
                                                      Total Dosage Units (2011)

                    SpecGx LLC                                                                       49.9%


     Mylan Pharmaceuticals, Inc.       1.5%


                     Sandoz Inc      0.0%


            Actavis Pharma, Inc.                                          24.1%


              Par Pharmaceutical                        10.9%


              Purdue Pharma LP          2.0%


West-Ward Pharmaceuticals Corp.         2.0%


                    Indivior Inc.    0.2%


  Teva Pharmaceuticals USA, Inc.        1.9%


              Ethex Corporation      0.0%


    Janssen Pharmaceuticals, Inc.    0.3%


         Rhodes Pharmaceuticals        0.9%


                           Other               6.4%

                                0.0%            10.0%           20.0%             30.0%   40.0%   50.0%      60.0%   70.0%


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                                    Labeler Market Share of 14 Opioid Drugs in Ogemaw County, MI
                                                           Total MME (2012)

                    SpecGx LLC                                                   27.0%


     Mylan Pharmaceuticals, Inc.                                                         33.4%


                     Sandoz Inc        1.4%


            Actavis Pharma, Inc.                          10.9%


              Par Pharmaceutical                5.8%


              Purdue Pharma LP                     6.4%


West-Ward Pharmaceuticals Corp.             3.7%


                    Indivior Inc.           3.4%


  Teva Pharmaceuticals USA, Inc.     0.4%


              Ethex Corporation      0.0%


    Janssen Pharmaceuticals, Inc.      1.0%


         Rhodes Pharmaceuticals         1.9%


                           Other               4.7%

                                0.0%                  10.0%       20.0%          30.0%           40.0%   50.0%   60.0%   70.0%


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                                    Labeler Market Share of 14 Opioid Drugs in Ogemaw County, MI
                                                      Total Dosage Units (2012)

                    SpecGx LLC                                                                    49.7%


     Mylan Pharmaceuticals, Inc.        1.9%


                     Sandoz Inc      0.0%


            Actavis Pharma, Inc.                                       22.0%


              Par Pharmaceutical                             15.6%


              Purdue Pharma LP          1.9%


West-Ward Pharmaceuticals Corp.          2.4%


                    Indivior Inc.    0.2%


  Teva Pharmaceuticals USA, Inc.        1.5%


              Ethex Corporation      0.0%


    Janssen Pharmaceuticals, Inc.    0.2%


         Rhodes Pharmaceuticals        0.8%


                           Other              3.7%

                                0.0%                 10.0%     20.0%           30.0%   40.0%   50.0%      60.0%   70.0%


                                                                       www.SLCG.com                                  16 of 20
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                                    Labeler Market Share of 14 Opioid Drugs in Ogemaw County, MI
                                                           Total MME (2013)

                    SpecGx LLC                                                           27.6%


     Mylan Pharmaceuticals, Inc.                                                          28.8%


                     Sandoz Inc      0.1%


            Actavis Pharma, Inc.                          9.0%


              Par Pharmaceutical                                 11.8%


              Purdue Pharma LP                 5.8%


West-Ward Pharmaceuticals Corp.             3.9%


                    Indivior Inc.           3.4%


  Teva Pharmaceuticals USA, Inc.     0.5%


              Ethex Corporation      0.0%


    Janssen Pharmaceuticals, Inc.    0.5%


         Rhodes Pharmaceuticals         2.3%


                           Other                   6.2%

                                0.0%                10.0%                20.0%          30.0%     40.0%   50.0%   60.0%   70.0%


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                                    Labeler Market Share of 14 Opioid Drugs in Ogemaw County, MI
                                                      Total Dosage Units (2013)

                    SpecGx LLC                                                             47.6%


     Mylan Pharmaceuticals, Inc.        1.8%


                     Sandoz Inc      0.0%


            Actavis Pharma, Inc.                         17.7%


              Par Pharmaceutical                          18.8%


              Purdue Pharma LP         1.6%


West-Ward Pharmaceuticals Corp.         2.4%


                    Indivior Inc.    0.2%


  Teva Pharmaceuticals USA, Inc.        2.0%


              Ethex Corporation      0.0%


    Janssen Pharmaceuticals, Inc.    0.1%


         Rhodes Pharmaceuticals        1.0%


                           Other               6.8%

                                0.0%            10.0%   20.0%           30.0%   40.0%      50.0%       60.0%   70.0%


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                                    Labeler Market Share of 14 Opioid Drugs in Ogemaw County, MI
                                                           Total MME (2014)

                    SpecGx LLC                                                      34.1%


     Mylan Pharmaceuticals, Inc.                                            28.0%


                     Sandoz Inc      0.2%


            Actavis Pharma, Inc.                   6.8%


              Par Pharmaceutical                     7.9%


              Purdue Pharma LP                     6.3%


West-Ward Pharmaceuticals Corp.             3.1%


                    Indivior Inc.           3.6%


  Teva Pharmaceuticals USA, Inc.     0.5%


              Ethex Corporation      0.0%


    Janssen Pharmaceuticals, Inc.    0.5%


         Rhodes Pharmaceuticals        1.8%


                           Other                    7.2%

                                0.0%                10.0%   20.0%          30.0%            40.0%   50.0%   60.0%   70.0%


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                                    Labeler Market Share of 14 Opioid Drugs in Ogemaw County, MI
                                                      Total Dosage Units (2014)

                    SpecGx LLC                                                                      54.8%


     Mylan Pharmaceuticals, Inc.       1.2%


                     Sandoz Inc      0.0%


            Actavis Pharma, Inc.                   9.7%


              Par Pharmaceutical                             19.9%


              Purdue Pharma LP          1.4%


West-Ward Pharmaceuticals Corp.          2.2%


                    Indivior Inc.    0.2%


  Teva Pharmaceuticals USA, Inc.        1.7%


              Ethex Corporation      0.0%


    Janssen Pharmaceuticals, Inc.    0.2%


         Rhodes Pharmaceuticals        0.7%


                           Other                7.9%

                                0.0%            10.0%     20.0%          30.0%   40.0%     50.0%        60.0%   70.0%


                                                                  www.SLCG.com                                     20 of 20
